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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
    Civil Action No.

    WALTER F. WAGNER,

                Plaintiff,
    v.

    SYSTEMS & SERVICES TECHONOLOGIES, INC.

                Defendant.

 _____________________________________________________________________________
                                      COMPLAINT
 ____________________________________________________________________________________

 COMES NOW Plaintiff, Walter Wagner, and for his causes of action against the Defendant states:

                                            JURISDICTION

    1. Jurisdiction of this court arises pursuant to 47 U.S.C. 227, et seq. and 28 U.S.C. 1331.
    2. Venue is appropriate in Colorado because the Plaintiff resides in this state and the Defendant
 has a registered agent in Denver, Colorado.
                                               PARTIES


    3. Plaintiff Walter F. Wagner is a natural person who resides in Lakewood, Colorado.
    4. Defendant, System & Services Technologies, Inc. is a Missouri corporation with its principal
 place of business located at 4315 Pickett Road, St. Joseph, Missouri.
    5. Defendant acted through its agents, employees, officers, members, directors and/or assigns.


                                      FACTUAL ALLEGATIONS


    6. Plaintiff incurred a debt with Equity One, a Popular Inc. company. The account was assigned
 or transferred from Equity One to Systems & Services Technologies, Inc., effective November 1,
 2008.
    7. Plaintiff was unable to make payments on the assigned or transferred account.
    8. Plaintiff is a “person” as defined by 47 U.S.C.§(153)(10).
    9. Beginning in 2010, Defendant called Plaintiff on his cellular phone on multiple times via an
 “automatic telephone dialing system” as defined by 47 U.S.C. §227(a)(1).
    10. During these telephone calls Defendant used an “artificial or prerecorded voice” as
 prohibited by 47 U.S.C.§227(b)(1)(A).
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     11. The telephone number Defendant called was assigned to a cellular telephone service for
 which Plaintiff Walter Wagner incurs a charge for incoming calls pursuant to 47 U.S.C. §227(b)(1).
     12. These telephone calls constituted telephone calls that were not for emergency purposes
 as defined by 47 U.S.C.§227(b)(1)(A)(i).
     13. These telephone calls by Defendant violated 47 U.S.C. §227(b)(1).
     14. Plaintiff Walter Wagner was harmed by the acts of the Defendant in at least the following
 ways:
     15. Defendant illegally contacted Plaintiff Walter Wagner via his cellular telephone thereby
 causing Plaintiff Walter Wagner to incur certain cellular telephone charges or reduce cellular
 telephone time for which plaintiff Walter Wagner previously paid, by having to retrieve or
 administer messages left by Defendant during those illegal calls and invading the privacy of said
 plaintiff Walter Wagner causing damage thereby.
     16. Calling plaintiff Walter Wagner continuously and on multiple occasions with the intent to
 annoy abuse, embarrass and/or harass him thereby causing him stress and anxiety.
     17. At no time was the Plaintiff's cellular phone number listed on Plaintiff's application with
 Equity One, or provided as part of the transfer or assignment of the account to Systems &
 Services Technologies, Inc.
                                                COUNT I

                              NEGLIGENT VIOLATIONS OF THE
                          TELEPHONE CONSUMER PROTECTION ACT

     18. Plaintiff incorporates by reference all of the above paragraphs of this complaint as though
 fully stated herein.
     19. The foregoing acts and omissions of defendant constitute numerous and multiple
 negligent violations of the TCPA, including but not limited to each and every one of the above
 cited provisions of 47 U.S.C. §227, et seq.
     20. As a result of Defendant's negligent violations of 47 U.S.C. §227, et seq., an award of
 $500.00 in statutory damages for each and every violation, pursuant to 47 U.S.C. §227, (b)(e)(B)
     21. As a result of Defendant's 159 violations of the TCPA, Defendant is liable to Plaintiff for
 $500 per call in statutory damages or no less than $79,500.
     22. Plaintiff Walter Wagner is also entitled to and seeks injunctive relief prohibiting such conduct
 in the future.
                                               COUNT II

                        KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                          TELEPHONE CONSUMER PROTECTION ACT

     23. Plaintiff Walter Wagner incorporates by reference all of the above paragraphs of this
 complaint as though fully stated herein.
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     24.The foregoing acts and omissions of Defendant constitute numerous and multiple knowing
 and/or willful violations of the TCPA, including but not limited to each and every one of the above
 cited provisions of 47 U.S.C. §227, et seq.
     25. As a result of Defendant's knowing and/or willful violations of 47 U.S.C. §227, et seq,
 Plaintiff Walter Wagner is entitled to an award of $1500 in statutory damages for each and every
 violation pursuant to 47 U.S.C. §227, (b)(3)(B) and 47 U.S.C. §227, (b)(3)(C).
     26. As a result of Defendant's willful and knowing violations of the TCPA, Defendant is liable to
 Plaintiff for treble damages of $1500 per call, or no less than $238,500.
     27. Plaintiff Walter Wagner is also entitled to and seeks injunctive relief prohibiting such conduct
 in the future.

     WHEREFORE, Plaintiff prays judgment against the Defendant

     a. A finding that Defendant violated the Telephone Consumer Protection Act and/or an
         admission from Defendant that it violated the Telephone Consumer Protection Act.
     b. Awarding maximum statutory damages under the Telephone Consumer Protection
         Act, pursuant to 47 U.S.C. §227, et seq.
     c. Awarding reasonable attorney fees and litigation costs pursuant to 15 U.S.C. 1692k;
     d. Such other and further relief as this Court deems just and proper.

              PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE
                                     rd
     Respectfully submitted this 23 day of November, 2011

                                                         /s/ T. A. Taylor-Hunt #31932
                                                         Law Office of T. A. Taylor-Hunt, LLC
                                                         3773 Cherry Creek North Drive, Suite 575
                                                         Denver, CO 80209
                                                         Phone: 303-331-3400
                                                         Facsimile: 303-752-1720
                                                         tath@legalwellness.com
                                                         Attorney for the Plaintiff
